                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      NO. 3:11-00194
                                                 )      JUDGE CAMPBELL
STERLING RENEVA RIVERS                           )

                                         ORDER

       The sentencing hearing currently scheduled for February 26, 2014, is RESCHEDULED for

January 28, 2014, at 2:00 p.m. in Courtroom No. A859.

       It is so ORDERED.

                                                 ____________________________________
                                                 TODD J. CAMPBELL
                                                 UNITED STATES DISTRICT JUDGE




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